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                                 Exhibit A
          (Plaintiff’s Initial Disclosures, Relevant Excerpts)
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